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             UNITED STATES DISTRICT COURT FOR THE
                     DISTRICT OF MARYLAND

GENESIS OFFICE SYSTEMS, INC.
                         *
                         *
    Plaintiff,           *
                         *
v.                       * Civil Case No.: PJM 14-
                         *                   2704
                         *
PNC BANK, NATIONAL ASSO. *
                         *
    Defendant.           *
*******************************************


     PLAINTIFF’S RULE 60 MOTION FOR RECONSIDERATION


Background

      On Monday, June 15, 2015, a hearing was held in this court on the

parties’ motions for summary judgment. The court granted Defendant’s motion

and denied Plaintiff’s motion.

      Defendant essentially argued that [1] Plaintiff’s tax returns showed that

the Certificate of Deposits (“CD”), upon which the present lawsuit were based,

were removed from the company to pay debts; [2] Plaintiff’s CEO referred

Defendant to its tax preparer during the deposition due to not recalling

information about the CDs; [3] Plaintiff did not get any CD Statements from the

bank for 12 years; [4] the Statute of Limitations bar Plaintiff’s lawsuit, and [5]

the Plaintiff was being dishonest.
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      Plaintiff argued that [1] name calling my Defendant’s counsel did not

change facts; [2] Plaintiff’s tax preparer said the CDs were used for debts but

that was NOT the same as redeeming the CDs with the bank; [3] the Plaintiff

was in debt to the CEO beyond what the CDs were worth (See. CEO’s sworn

Affidavit), and hence, they were removed from the company’s tax statements to

accurately reflect the company’s financial status; [4] the Plaintiff was a family

company and the CEO had, for years, personally poured his own finances into

the corporation; [5] when the company was in need financially in 2014, the

CEO went to the bank on behalf of the company to redeem the CDs which had

been “put away” for years (i.e., he returned the CDs to the company); [6] when

the original CDs were presented, Defendant refused to return Plaintiff’s funds in

direct violation of Maryland Commercial Law Article, Sec. 3-104(j); [7] the

company filed lawsuit against Defendant for conversion; [8] what the CEO did

(i.e., in returning the CDs to the company) was 100% consistent with his years

of supporting the corporation with his personal finances (such kindness was

again reflected in 2010 when he lent the company $100,000, as reflected in its

2010 tax return); [9] whatever Plaintiff’s did with its internal tax returns has

nothing to do with Defendant keeping over $110,000.00 of a corporation’s

funds without the original Certificates, without any signature proving

redemption, without valid records of redemption, and without any external or

internal regulation permitting redemption without documentary proof of such,
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and [10] nearly 100 years of Maryland Law establishes that the bar of the

Statute of Limitation is removed when there is acknowledgment of a subsisting

debt, and since the CDs were automatically renewed as a legal promise to return

Plaintiff’s funds, the Statute of Limitations did not operate in this case.

Argument

      Rule 60(b) of the Federal Rules of Civil Procedure permits a court to

relieve a party from a final judgment for any reason that justifies relief. Courts

have recognized three limited grounds for granting a motion for reconsideration:

[1] to accommodate an intervening change in controlling law, [2] to account for

new evidence not previously available, or [3] to correct clear error of law or

prevent manifest injustice. See. United States ex rel. Becker v. Westinghouse

Savannah River Co., 305 F.3d 290 (4th Cir. 2002)[citing Pacific Ins. Co. v. Am.

Nat’l Fire Ins. Co., 148 F.3d 396, 403 (4th Cir. 1998]).

      Reason number [3] governs in this case due to an error of law and the

need to prevent manifest injustice. Each will be addressed below based on the

court’s expressed position during the June 15, 2015 hearing.

      The court expressed its belief that the Statute of Limitations control this

case since so much time had passed, risking lost records, witnesses, etc.

However, Maryland Law is the exact opposite of this position when there is

“acknowledgment of a subsisting debt.” In Doughty v. Bayne, 222 Md. 361,

160 A.2d 609 (1960), the court held that where a person admits the possibility
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of indebtedness and later refuses to pay because of a lack of money, there is

sufficient acknowledgment of a subsisting debt to remove the bar of the Statute

of Limitations. It said, “In Maryland, unlike most other states, an

acknowledgment of a subsisting debt is sufficient to remove the bar of the

statute.” Id. at 365. Also, it said, “However, it has long been the rule that an

acknowledgment revives the remedy and avoids the operation of the statute.” Id.

at 364. As early as 1928, this law was governing in Maryland. In Knight v.

Knight, 155 Md. 243, 141 A. 706 (1928), the court held that when a debtor

states to his creditor that as soon as he sells his business, he intends to pay him

every cent owed him and would settle with him, that was sufficient

acknowledgment of debt to remove the bar of the Statute of Limitations.

Maryland case law is unmistakable; acknowledgment of subsisting debt

removes the bar of the Statute of Limitations, and any difficulty with proof,

witnesses, etc. does not alter the law. According to the governing language on

the back of the CDs (Exhibit “A-i” of Plaintiff’s Motion for Summary

Judgment), fourth paragraph, the CDs are automatically renewed. Since

according to Maryland Commercial Law Article, Sec. 3-104(j), “Certificate of

deposit means an instrument containing an acknowledgment by a bank that a

sum of money has been received by the bank and a promise by the bank to

repay the sum of money….” (emphasis added), Defendant’s obligation to

Plaintiff is undeniable. The automatic renewal provision in the CDs made them
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timeless. The only exception in the terms of the CD was if the bank sent notice

to Plaintiff accordingly, and it did not. The Defendant (as a bank) had a clear

obligation to keep records on the CDs for as long as the promise in them

governed, and its failure to do so cannot become an “albatross around the neck”

of Plaintiff. Furthermore, Plaintiff could not possibly have records Defendant

failed to send it. This court’s expression of the Statute of Limitations governing

herein and decision to permit Defendant to keep over $110,000.00 of Plaintiff’s

corporate funds countered “the letter” of Maryland Case Law and Maryland

Statute.

      The court expressed grave questions about the difference between using

CDs to meet debts and redeeming the CDs with the bank. It also seemingly

believed Defendant’s counsel’s false allegations about dishonesty by the

Plaintiff. This is very unfortunate. When Mr. Ron Hawkins, as the CEO of

Plaintiff, went to Defendant/bank to redeem the CDs in 2014 to help the family

corporation, he in essence returned the CDs to the company to benefit it. He

has done this for decades with the family company (See. his sworn Affidavit),

and there was nothing unusual about him sacrificing again. Defendant’s

arguments about Plaintiff not getting CD Statements OR not doing taxes like

Defendant thinks they should be done OR not inquiring about the CDs, are all

irrelevant in this case. The governing language on the back of the CDs does

not make inquiring about them or receiving statements about them a condition
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of redemption. Defendant made “loud” arguments about these matters BUT

did not refer to the governing language on the CDs, which Plaintiff’s counsel

did in fact reference during the hearing. Concerning the tax statement, that was

already addressed, and in essence, was an accurate reflection at that time of the

company’s financial status, namely, in debt to the CEO beyond the value of the

CDs and hence could not remain on the company’s books. It is manifest

injustice to deprive a corporation of its $110,000.00 because the CEO showed

kindness by returning the CDs to the family business. How can non-inquiry

about CDs produce losing the funds they secure? Yes, if the CEO had [1] not

“put away” his CDs upon receipt, [2] not forgotten about them due to the

success of the company, and [3] not failed to inquire about them over the course

of years, this case would be simple. However, none of those things are crimes

or in violation of the CD terms. The CDs were never redeemed so taxes on the

funds were not paid (which would have been done upon redemption). Hence,

there is nothing against the law, statute, or finance regulations condemning the

Plaintiff herein. The Defendant’s position is without support in law or fact.

Over one hundred and ten thousand dollars of Plaintiff’s funds were “given” to

Defendant by this court’s decision on June 15, 2015, and Plaintiff has no option

but to challenge what it views as manifest injustice via all procedural means

available.

      WHEREFORE, Plaintiff respectfully requests
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[1]    that Summary Judgment entered for Defendant be reversed,

[2]    that Summary Judgment be entered for Plaintiff,

[3]    that a hearing on this matter be scheduled to fully review all

       documentation referenced by Plaintiff in this motion for reconsideration,

       and

[4]    such other and further relief as the court deems necessary.

                               ALTERNATIVELY,

[I]    that all motions for summary judgment be DENIED,

[II]   that a date be set for a pre-trial conference and trial, and

[III] such other and further relief as the court deems necessary.

                                                          /s/
                                                Rickey Nelson Jones
                                                Law Offices of Reverend Rickey
                                                      Nelson Jones, Esquire
                                                3rd Floor — Suite 5
                                                1701 Madison Avenue
                                                Baltimore, Maryland 21217
                                                410-462-5800
                                                joneses003@msn.com

                                                Attorney for Plaintiff
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                       CERTIFICATE OF SERVICE

      Genesis Office Systems, Inc., hereby gives notice that on this 18th day of

June, 2015, it served (via CM/ECF) “Plaintiff’s Rule 60 Motion for

Reconsideration” on Defendant’s counsel of record – Michael S. Barranco,

TREANOR POPE & HUGHES, PA., 500 York Road, Towson, Maryland

21204.

                                                     /s/
                                             Rickey Nelson Jones

                                             Attorney for Plaintiff
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             UNITED STATES DISTRICT COURT FOR THE
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    Plaintiff,           *
                         *
v.                       * Civil Case No.: PJM 14-
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                         *
PNC BANK, NATIONAL ASSO. *
                         *
    Defendant.           *
*******************************************

                                   ORDER

      Upon the “Plaintiff’s Rule 60 Motion for Reconsideration,” it is this

             day of                           , 2015, by the United States

District Court for the District of Maryland

      ORDERED that

[1]   Summary Judgment be, and hereby is, REVERSED & VACATED, for

      the Defendant, and

[2]   Summary Judgment be, and hereby is, GRANTED to the Plaintiff, with

      all requested damages.


                                                          JUDGE
                                                                              10
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             UNITED STATES DISTRICT COURT FOR THE
                     DISTRICT OF MARYLAND

GENESIS OFFICE SYSTEMS, INC.
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                         *
PNC BANK, NATIONAL ASSO. *
                         *
    Defendant.           *
*******************************************

                                   ORDER

      Upon the “Plaintiff’s Rule 60 Motion for Reconsideration,” it is this

             day of                           , 2015, by the United States

District Court for the District of Maryland

      ORDERED that

[1]   Summary Judgment be, and hereby is, REVERSED & VACATED for

      the Defendant,

[2]   the parties’ motions for summary judgment be, and hereby is,

      DENIED,

[3]   pre-trial conference is set for the __ day of _________, 2015, and

[4]   trial is set for the ______ day of ____________________, 2015.


                                                          JUDGE
